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                    JEFFREY N. POMERANTZ COURT ADMISSIONS

V.     Applicant has also been admitted to practice before the following courts:

U.S. District Court for the Central District of California    3/15/1990    ACTIVE

U.S. District Court for the Eastern District of California    8/23/1993    ACTIVE

U.S. District Court for the Northern District of California   4/9/1992     ACTIVE

U.S. District Court for the Southern District of California   5/16/1991    ACTIVE

U.S. Court of Appeals for the 5th Circuit                     3/26/2021    ACTIVE

U.S. Court of Appeals for the 9th Circuit                     12/11/1989   ACTIVE
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                     STATEMENT OF ADDITIONAL APPLICATIONS

IX.    Applicant has filed for pro hac vice admission in the United States District Court for the
Northern District of Texas during the past three (3) years in the following matters:

James Dondero vs. Highland Capital Management, L.P., et al. Case No. 3:20-cv-03390-X

UBS Securities LLC and UBS AG, London Branch vs. Highland Capital Management, L.P.,
Case No. 3:20-cv-03408-G

The Dugaboy Investment Trust and Get Good Trust vs. Highland Capital Management, L.P.,
Case No. 3:21-cv-00261-L

Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P. vs. Highland
Capital Management, L.P., Case No. 3:21-cv-00538-N

Highland Income Fund, NexPoint Strategic Opportunities Fund, Highland Global Allocation
Fund, and NexPoint Capital, Inc. vs. Highland Capital Management, L.P., Case No. 3:21-cv-
00539-N

James Dondero vs. Highland Capital Management, L.P., Case No. 3:21-cv-00546-N

The Dugaboy Investment Trust, et al. vs. Highland Capital Management, L.P., Case No. 3:21-cv-
00550-N

Charitable DAF Fund et al. vs. Highland Capital Management LP et al., Case No. 3:21-cv-
00842-B

James Dondero, et al. vs. Jernigan, Case No. 3:21-cv-00879-K

Highland Capital Management, L.P. vs. NexPoint Advisors LP, Case No. 3:21-cv-00880-X

Highland Capital Management LP et al v. Highland Capital Management Fund Advisors LP,
Case No. 3:21-cv-00881-X

PCMG Trading Partners XXIII LP v. Highland Capital Management LP, Case No. 3:21-cv-
01169-N

The Dugaboy Investment Trust and Get Good Trust et al v. Highland Capital Management LP,
Case No. 3:21-cv-01295-X

Highland Capital Management, L.P., vs. Highland Capital Management Services, Inc., Case No.
3:21-cv-01378-X

Highland Capital Management, L.P., vs. HCRE Partners, LLC n/k/a NexPoint Real Estate
Partners, LLC, Case No. 21-cv-01379-X
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The Charitable DAF Fund LP et al v. Highland Capital Management LP, Case No. 3:21-cv-
01585-S

Dondero et al v. Highland Capital Management LP, Case No. 3:21-cv-01590-N

Charitable DAF Fund LP v. Highland Capital Management LP, Case No. 3:21-cv-01710-N

Highland Capital Management Fund Advisors L.P., and NexPoint Advisors, L.P. vs. Highland
Capital Management, L.P., Case No. 3:21-cv-01895-D

The Charitable DAF Fund, L.P. et al v. Highland Capital Management LP, Case No. 3:21-cv-
01974-X

Dondero et al v. Highland Capital Management LP, Case No. 3:21-cv-01979-S

The Dugaboy Investment Trust and Get Good Trust et al v. Highland Capital Management LP,
Case No. 3:21-cv-02268-S

NextPoint Advisors, L.P. et al. vs. Pachulski Stang Ziehl & Jones LLP, Case No. 3:21-cv-03086-
K

Highland Capital Management Fund Advisors, L.P., et al. vs. Highland Capital Management,
L.P., Case No. 3:22-cv-02170-S (NDTX)

NexPoint Advisors LP, et al. vs. Highland Capital Management, L.P., Case No. 23-00573
(NDTX)

Charitable DAF Fund LP et al v. Highland Capital Management LP, Case No. 3:23-cv-01503




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